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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

JAZZ PHARMACEUTICALS, INC.,     )
                                )
               Plaintiff,       )
                                )
       v.                       )                 C.A. No. 21-691 (GBW)
                                )
AVADEL CNS PHARMACEUTICALS LLC, )
                                )
               Defendant.       )

JAZZ PHARMACEUTICALS, INC. and  )
JAZZ PHARMACEUTICALS IRELAND    )
LIMITED,                        )
                                )
               Plaintiffs,      )
                                )
       v.                       )                 C.A. No. 21-1138 (GBW)
                                )
AVADEL CNS PHARMACEUTICALS LLC, )
                                )
               Defendant.       )

JAZZ PHARMACEUTICALS, INC. and  )
JAZZ PHARMACEUTICALS IRELAND    )
LIMITED,                        )
                                )
               Plaintiffs,      )
                                )
       v.                       )                 C.A. No. 21-1594 (GBW)
                                )
AVADEL CNS PHARMACEUTICALS LLC, )
                                )
               Defendant.       )

                                  NOTICE OF SERVICE

       The undersigned hereby certifies that copies of Plaintiffs’ First Set of Requests for

Admission to Defendant Avadel CNS Pharmaceuticals (Nos. 1-68) were caused to be served on

September 21, 2022, upon the following in the manner indicated:
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September 21, 2022




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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 21, 2022, I caused the foregoing to be electronically

filed with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on

September 21, 2022, upon the following in the manner indicated:

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